Meghan Claiborne

From:                             Meghan Claiborne
Sent:                             Wednesday, February 17, 2021 2:02 PM
To:                               Meghan Claiborne
Subject:                          Wexler v. City, et al. - Discovery Deficiencies
Attachments:                      Wexler Medical Checklist.pdf


Tom:

As you are aware, discovery ends tomorrow. The photographs your client identified during her deposition yesterday
should have been produced at the outset with Rule 26 Initial Disclosures, which I don’t believe you have yet produced.
Please produce your disclosures today by close of business today, along with all photographs related to the incident or
any injuries in her possession.

Thank you,
Meghan

Meghan E. Claiborne
Civil Rights Unit
City of Philadelphia Law Department
Office: 215-683-5447
Cell: 706-951-0586
Fax: 215-683-5397




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